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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               DELTA DIVISION

MARIO LADELL MCCLINTON                                                             MOVANT

V.                                                               NO.: 2:10CR160-SA-JMV

UNITED STATES OF AMERICA                                                      RESPONDENT

                                           ORDER

       Before the Court is Movant’s motion asking the Court to allow him to submit a reply to

the government’s response in opposition to his § 2255 motion. Inasmuch as Movant’s § 2255

motion was denied by Judgment entered on December 12, 2016, the instant motion [1184] is

DISMISSED as moot.

       SO ORDERED this the 16th day of December, 2016.

                                                   /s/ Sharion Aycock
                                                   U.S. DISTRICT JUDGE
